76 F.3d 375
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Guy Lancaster RICHMOND, Plaintiff-Appellant,v.PRISON HEALTH SERVICES, INCORPORATED;  Warden Waters,Defendants-Appellees.
    No. 95-7228.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 18, 1996.Decided Feb. 1, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Edward S. Northrop, Senior District Judge.  (CA-95-807-N)
      Guy Lancaster Richmond, Appellant Pro Se.  Joseph Barry Chazen, MEYERS, BILLINGSLEY, SHIPLEY, RODBELL &amp; ROSENBAUM, Riverdale, Maryland;  John Joseph Curran, Jr., Attorney General, Richard M. Kastendieck, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before HAMILTON and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion, and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Richmond v. Prison Health Servs., No. CA-95-807-N (D.Md. July 31, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    